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UNITED STA TES DISTRICT COURT `,. __, _
WESTERN DISTRICT OF TENNESSEE " " ' § t ~' t "
Westerrz Division

 

OMce of the Clerk
Robert R. Di Trolio, Clerk Deputy-in-Charge
242 Federcrl Buc'ldr'ng U..S`. Courthouse, Room 262
167 N. 111ch S!reet 111 South Highland Avenue
Memphcs, Tennessee 38103 Jackson, Tennessee 38301
(9{)1) 495~1200 (731) 421-9200

 

NOTICE OF RE-SETTING
Before Judge J on Phipps McCalla, United States District Judge

 

April 26, 2005

RE: 2:04cv2398-Ml
Tory Lamout Shaw v. La Petite Academy, Inc.

Dear Sir/Madam:

The JURY TRIAL previously set in the above-styled cause has been RESE'I` before Ju dge
J on Phipps McCalla from MONDAY, MAY 23, 2005 at 9:30 A.M. to TUESDAY, SEPTEMBER
6, 2005 at 9:30 A.M. in Courtroom 4, 9th floor of the Federal Building, Memphis, Tennessee.

The PRETRIAL CONFERENCE has been RESET from FRIDAY, MAY 13, 2005 at 8145
A.M. to MONDAY, AUGUST 29, 2005 at 8:45 A.M. in Courtroom 4, 9th floor of the Federal
Building, Memphis, Tennessee.

The PROPOSED JOINT PRETRIAL ORDER must be furnished to the Court by 4:30
P.M. on AUGUST 22, 2005.

If you have any questions, please contact the case manager at the number provided below.

Sincerely,
ROBERT Dl TROLIO, CLERK

BY; a/'/\/"

Jos P. Warren, Case Manager
901-495-1242

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Attachment with Rula 58 and/0 Ol'r the docket 29 t

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WESTERN DISTRICT OF TENNESSEE
Office of the Clerk

PREHHALPROCEDURES

Prior to the pretrial conference, counsel must do the following:
Complete all discovery.

Counsel are directed to confer prior to the pretrial conference to exchange
information as to the ultimate issues of law and fact, to eliminate unnecessary
or irrelevant issues that appear in the pleadings or discovery, to arrive at all
possible stipulations, and to exchange documents and exhibits which will be
offered in evidence at trial.

Counsel shall prepare a single proposed Joint Pretrial Order that covers
the items set forth below. If counsel are unable to agree completely on a joint
order, they shall submit a proposed joint pre-trial order including all matters
agreed upon and a separate jointly prepared list specifying items of
disagreement. If counsel cannot agree upon a joint pretrial order, the attorney
for each party must submit a proposed pretrial order containing the [information
below]. Plaintiff's attorney is responsible for initiating the proposed pretrial
order. All counsel are responsible for ensuring the proposed pretrial order is
timely filed. The proposed pretrial order shall contain the following:

(1) In the captionr a complete listing of all parties , both plaintiff
and defendant, who remain in the case as of the date the joint
pretrial document is filed. Do not use "et al."

(2) Any remaining jurisdictional questions and the proper rulings
thereon;

(3) A list of pending motions and the proper rulings thereon;

(4} A short summary of the case that may be read to the venire at the

beginning of voir dire;

(5) The respective contentions of the parties, including contentions
with regard to the nature and amount of damages and with respect to
liability;

(6) A comprehensive written statement of uncontested facts that may be

stipulated and read to the jury{possible sources of these agreed
facts are the pleadings, discovery, or admission of counsel);

(7) Contested issues of fact;

A written statement of contested issues of fact that will explain to
the court the nature of the parties dispute;

(B) Contested issues of law;

A written statement of the contested issues of law. This is not to
be a restatement of the disputed facts but an itemization of the
legal issues such.as negligence, contributory negligence, etc. This
is the most important part of the joint pretrial order as these
issues, not the pleadings, will govern the trial. The court wants
an agreed list not a separate list for each party. If either party

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insists on a triable issuer it is to be listed in the pretrial order
and will be a triable issue unless the court decides otherwise at
the pretrial conference.

A list of exhibits (except documents for impeachment only) to be
offered in evidence by the parties, and to the extent possible, a
stipulation on their admissibility. If the parties cannot
stipulate, then the objections must be noted. in the proposed
pretrial order. To the extent possible, objections shall be ruled
on at the pretrial conference.

The parties are expected to have complied with Federal Rules of
Civil Procedure 26(a)(3){C} on pretrial disclosures. That rule
requires disclosures of witnesses, deposition testimony, and
exhibits, (other than impeachment evidence), to the opposing counsel
thirty days before trial. Within fourteen days thereafter, the
opposing party must serve and file a list disclosing any objection,
together with the grounds therefor, to the admissibility of any
exhibit, deposition testimony, or witness testimony.

Before the conference, each party shall furnish to the other party
for copying and inspection all exhibits which are to be offered in
evidence.

A list of witnesses for the parties, indicating those who will be
called, in the absence of reasonable notice to opposing counsel to
the contrary, and those who only m§y be called. Any objection to a
witness in general must be noted in the proposed joint pretrial
order. If any Rule 702 (“expert”) witnesses, including treating
physicians who will give expert testimony, are listed, the witness
shall be identified as such, along with the subject matter of the
expert testimony. Opposing counsel shall specify any objection to
the witness’s expertise or testimony in the proposed joint pretrial
order. To the extent possible, objections will be ruled on at the
pretrial conference.

Deposition testimony:

If a party desires to offer deposition testimony into evidence at
the trial, he shall designate only those relevant portions of same
which he wishes read at trial and advise opposing counsel of same.
All objections to any such testimony must be noted in the proposed
joint pretrial document so that the court may rule on such objection
prior to trial. To the extent possible, objections will be ruled on
at the pretrial conference.

An estimate of the length of trial.

A statement indicating whether the case is a jury trial or non-jury
trial. lf it is a jury caser counsel shall file with the court, not
later than two business days prior to the beginning of trial, copies
of all proposed jury instructions (one point per page), any special
questions for voir dire examination of the jury venire, and any
special interrogatories or verdict forms that counsel wish to submit
to the jury. Counsel shall furnish opposing counsel a copy of same.
The court will conduct a general voir dire and either ask the
proposed special questions of counsel at that time, or allow counsel
to conduct limited voir dire.

If the case is non-jury, the parties should submit proposed findings
of fact and proposed conclusions of law in place of the proposed

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jury instructions. The amount of the ascertainable damages. The
listing of the amount of damages shall not constitute an agreement
as to the recoverability of same unless so stated.

(14) A list of the names of all attorneys interested in the case and
copies of all interested firms' letterheads.

(15} A list of any special equipment such as video cassette recorders,
overhead projectors, easels, computers, etc. that the parties intend
to bring for use at the trial. (The court provides a presentation
system including VGA monitors, an evidence camera, a video cassette
recorder, and a video distribution system for these components. The
court does not provide personal computers or laptops to counsel,
howeverr at the Court's discretion, counsel may access the video
distribution system with their own laptops to disseminate computer
generated evidence.}

Any motions in limine, not covered by the objections, must be filed two
weeks before the trial date. The opposing party must file a response
within five days of date of service of the motion in limine.

The attorneys who will try the case are required to attend the pretrial
conference. The parties are not required to attend the conference. The
attorneys will be generally familiar with pretrial procedures and come to
the conference with, full authority' to accomplish the purpose of the
conferencer which is to simplify and define the triable issues, expedite
the trial, and save expense. At the time of the conference, counsel will
report to the Court the prospects of settlement. For a discussion Of
pretrial conferences, see 23 Federal Rules Decisions 129-136.

If an attorney fails to appear at the pretrial conference or to comply
with the directions set forth herein, an ex parte hearing may be held and
judgment of dismissal or default or other appropriate sanctions entered.

After the pretrial conference, the Court will enter a Pretrial Order which
shall govern the conduct at trial and will constitute the final statement
of the issues involved.

Please take note of the requirements of Local Rule [7.3] of this Court.
All parties are required to submit to the court pretrial memoranda at
least 10 days prior to the date of the trial. The submission of pretrial
memoranda is ppg required in jury cases before the Honorable Jon Phipps
McCalla. In a non-jury case, the pretrial memoranda must include proposed
findings of fact and conclusions of law.

The procedures set forth in this letter apply to pro §§ litigants as well
as attorneys.

 

SDISTRIC

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 15 in
case 2:04-CV-02398 Was distributed by faX, mail, or direct printing on
Apri128, 2005 to the parties listed.

sssEE

 

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Honorable 1 on McCalla
US DISTRICT COURT

